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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  21                           WESTERN DIVISION
  22
       BRANDYWINE                           Case No. 2:12-cv-03749-JAK (AJWx)
  23   COMMUNICATIONS
       TECHNOLOGIES, LLC,
  24
                        Plaintiff,          ORDER GRANTING
  25                                        STIPULATION TO EXTEND STAY
            v.                              PENDING DISMISSAL BASED ON
  26                                        SETTLEMENT AGREEMENT AND
       SAMSUNG ELECTRONICS CO.,             SETTING ORDER TO SHOW
  27   LTD., SAMSUNG                        CAUSE RE DISMISSAL
       TELECOMMUNICATIONS
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   1   AMERICA, LLC,
                                                   Hon. John A. Kronstadt
   2                      Defendants.
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             Upon review of the Parties’ Stipulation to Extend Stay Pending Dismissal
   4
       Based on Settlement Agreement, and finding good cause,
   5
             IT IS ORDERED that the stay of all dates and deadlines in this case is
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       extended until December 14, 2012. The Court sets an Order to Show Cause re
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       Dismissal for January 7, 2013 at 1:30 p.m. If the matter has been dismissed prior to
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       that date, no appearances are required.
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       IT IS SO ORDERED.
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  12   Dated: December 6, 2012
                                                 Hon. John A. Kronstadt
  13                                             United States District Judge
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